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1                                                              FILED
2                                                           Februa ry 22, 2010

                                                        UNITED STATES DISTRICT COURT
3
                                                       EASTERN DISTRICT OF CALIFORNIA

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                           UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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9
     PAUL CREIGHTON,
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                       Plaintiff,                  NO. 1:08-cv-01507-OWW-SMS
11   vs.
                                               ORDER RE DISPOSITIVE DOCUMENTS
12                                               AFTER NOTICE OF SETTLEMENT
     CITY OF LIVINGSTON,
13
                   Defendant.
14   ____________________________/

15               Counsel has informed the court that the parties have

16   settled the above-captioned case. In accordance with the provisions

17   of Local Rule 160 (Fed. R. Civ. P. 16), the court now orders that

18   a dispositive documents be submitted no later than MARCH 15, 2010.

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20               All    court   dates,    as    well   as     any     pending           motions

21   heretofore set in this matter are hereby VACATED.

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23               Failure to comply with this order may be grounds for the

24   imposition of sanctions on any and all counsel or parties who

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1    contributed to the violation of this order (see attached Notice of

2    Local Rule 160 and Local Rule 272.)

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4    IT IS SO ORDERED.

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6    DATED:   February 22, 2010

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8                                            /s/ Sandra M. Snyder
                                           SANDRA M. SNYDER
9                                          UNITED STATES MAGISTRATE JUDGE

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1
                                       NOTICE
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4                    Local Rule 160 (Fed. R. Civ. P. 16)

5                 NOTICE OF SETTLEMENT OR OTHER DISPOSITION

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          (a) Notice. When an action has been settled or otherwise
7    disposed of, or when any motion seeking general or interim relief
     has been resolved, whether by settlement conference or out of
8    Court, and whether the action is pending in the District Court or
     is before an appellate court, it is the duty of counsel to inform
9    the courtroom deputy clerk and the assigned Court's chambers
     immediately. See L.R. 272.
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          (b) Dispositional Documents.      Upon such notification of
11   disposition or resolution of an action or motion, the Court shall
     thereupon fix a date upon which the documents disposing of the
12   action or motion must be filed, which date shall not be more than
     twenty-one (21) calendar days from the date of said notification,
13   absent good cause. The Court may, on good cause shown, extend the
     time for filing the dispositional papers.      A failure to file
14   dispositional papers on the date prescribed by the Court may be
     grounds for sanctions. See L.R. 272.
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17                   Local Rule 272 (Fed. R. Civ. P. 16)

18                             NOTICE OF SETTLEMENT

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         (a)   General Rule.     See L.R. 160.
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          (b) Sanctions. If for any reason attributable to counsel or
21   parties, including settlement, the Court is unable to commence a
     jury trial as scheduled where a panel of prospective jurors has
22   reported for voir dire, the Court may assess against counsel or
     parties responsible all or part of the cost of the panel. See L.R.
23   110.

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